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                                                                       April 26, 2021


TO:    Honorable Victor Marrero
       United States District Judge
       Southern District Of New York
       500 Pearl St, Suite 1610
       New York, NY 10007

       VIA ELECTRONIC MAIL TO CHAMBERS
       WITH A COPY TO DEFENDANTS


RE:    KDH Consulting Group LLC v. Iterative Capital Management L.P. et al.
       20-cv-03274 | Renewed TRO Case Management Plan | Request for an Extension


Dear Hon. Judge Marrero:
Because of the unavoidable scheduling conflicts this and next week due to international travel,
Plaintiff respectfully requests an extension of the May 7, 2021, due date for the parties to submit
a joint letter and Case Management         (“Due Date”). See Judge Marrero’s Order Dkt. No. 71.
After a consultation with Defendants, Plaintiff asks for the Due Date to be adjourned for 2 weeks,
so that the parties have a chance to hold a Rule 26 conference prior to preparing the
submissions for the            Due Date.
Defendants (cc’d) consent to the requested adjournment. There were no prior requests for an
extension of the Due Date.


                                                                    Sincerely,


                                                                    Rika Khurdayan, Esq.
cc:    Robert Boller
       BARNES & THORNBURG LLP
       Counsel for the Defendants
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